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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No. 15–cr–00383-RBJ-01

UNITED STATES OF AMERICA,

                    Plaintiff,

v.

1. DANIEL DIRK CODDINGTON,

                    Defendant.


     BRIEF IN SUPPORT OF MOTION FOR LEAVE TO RESTRICT DOCUMENT


      Mr. Daniel Dirk Coddington, through undersigned counsel Kristen M. Frost and

Patrick L. Ridley of the law firm Ridley, McGreevy & Winocur, P.C., hereby files Mr.

Coddington’s Brief in Support of Motion to Restrict Document No. 276.

      The Court has authority to seal documents upon a showing of compelling

reasons. See D.C.COLO.LCr.R 47.1(A). A compelling reason exists in this case

because Mr. Coddington has experienced serious medical issues and the notice and

motion provides information that is personal and confidential health information.

Pleadings and attachments containing private health information should not be viewable

by the public or anyone other than the government and the Court.

      The relevant pleadings include Mr. Coddington’s Motion for Variant Sentence

and related exhibits that contain private health information and could expose the

defendant to harm if they were made public.
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      Accordingly, the defense moves that the Court restrict Mr. Coddington’s Motion

for Variant Sentence, the attachments, this brief and any order revealing the contents of

those documents.

      Respectfully submitted this 13th day of November, 2018.

                                                /s/ Kristen M. Frost
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                              CERTIFICATE OF SERVICE


       I hereby certify that on this 13th day of November, 2018 I served a true and
correct copy of the foregoing BRIEF IN SUPPORT OF MOTION FOR LEAVE TO
RESTRICT DOCUMENT electronically with the clerk of the court via the CM/ECF
system to all interested parties:

Pegeen Denise Rhyne
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